Case 2:22-cv-00924-SDW-JBC Document 17 Filed 10/05/22 Page 1 of 3 PageID: 451




                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


CRUMBL LLC, a Utah Limited Liability
Company, CRUMBL IP, LLC, a Utah
Limited Liability Company, and
CRUMBL FRANCHISING, LLC, a
Utah Limited Liability Company,              Case No. 2:22-cv-00924-SDW-JBC

                                             ORDER GRANTING
            Plaintiffs,                      PLAINTIFFS’ MOTION FOR
      v.
                                             AN AWARD OF LEGAL FEES,
CRUMBLE LLC d/b/a CRUMBLE                    COSTS AND EXPENSES
COOKIE BAR, a New Jersey Limited
Liability Company,

               Defendant.




      THIS MATTER having been brought before the Court by Dorsey & Whitney

LLP, attorneys for Plaintiffs Crumbl LLC, Crumbl IP, LLC and Crumbl Franchising,

LLC (collectively, “Plaintiffs”), pursuant to this Court’s August 16, 2022 Order for

Default Judgment and Permanent Injunction (Dkt. 14) and seeking the entry of an

Order awarding Plaintiffs their legal fees, costs and expenses incurred in this case

(“Motion”), and awarding said fees, costs, and expenses against Defendant Crumble

LLC d/b/a Crumble Cookie Bar (“Defendant”); and notice having been given of this

motion; and the Court having considered the papers filed in support of the Motion,




                                         1
Case 2:22-cv-00924-SDW-JBC Document 17 Filed 10/05/22 Page 2 of 3 PageID: 452




and any opposition thereto; and the Court having heard oral argument, if any; and

for good cause shown;

                    5th day of ______________
      IT IS on this ___        October        2022;

      ORDERED that the Motion is hereby, and shall be, granted; and it is further

      ORDERED that the billing rates for the Plaintiffs’ attorneys as set forth in

the Motion are reasonable and consistent with the billing rates charged in Northern

New Jersey by attorneys with comparable experience and expertise; and it is further

      ORDERED that the legal fees and expenses incurred by Plaintiffs and sought

in their Motion, as set forth in Dorsey & Whitney LLP’s detailed time and expense

records submitted therewith, were reasonably and necessarily incurred by Plaintiffs

to prosecute this case and are recoverable from Defendant; and it is further;

      ORDERED that Plaintiffs are awarded their legal fees, costs, and expenses

incurred in this case in the amount of $31,254.79, consisting of legal fees of

$30,922.00 and costs and expenses of $332.79; and it is further

      ORDERED that judgment is hereby entered in favor of Plaintiffs and against

Defendant in the amount of $31,254.79; and it is further

      ORDERED that Plaintiffs’ counsel shall serve a copy of this Order on all

counsel who will not receive it electronically within five (5) days of receipt of this

Order.




                                          2
Case 2:22-cv-00924-SDW-JBC Document 17 Filed 10/05/22 Page 3 of 3 PageID: 453




                               ______________________________________

                              HONORABLE SUSAN D. WIGENTON, U.S.D.J.




                                      3
